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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )             CASE NO. MJ 21-549
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   DAVID CABRALES SOLIS,                )
                                          )
12         Defendant.                     )
     ____________________________________ )
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     Offenses charged:
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        1. Possession with intent to distribute fentanyl.
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     Date of Detention Hearing:    October 13, 2021.
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            The Court, having conducted a detention hearing pursuant to 18 U.S.C. §3142(f) and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
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     that no condition or combination of conditions which defendant can meet will reasonably assure
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     the appearance of defendant as required and the safety of other persons and the community.
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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02         1.      Defendant has been charged with a drug offense, the maximum penalty of which

03 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

04 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

05         2.      Defendant poses a risk of flight based on his lack of ties to the community and

06 the fact that his family, including parents and siblings, reside in Mexico. He has been charged

07 with a ten-year mandatory minimum offense, which provides an incentive to flee, and he has

08 no legal status in this country.     The Court also notes there were discrepancies between

09 Defendant’s report regarding expenses and assets and the report of his family member to pre-

10 trial services. Defendant is a danger to the community based on the nature of the alleged

11 offense involving a significant amount of fentanyl pills, involving approximately 100,000 pills.

12          3.     There does not appear to be any condition or combination of conditions that will

13 reasonably assure the defendant’s appearance at future Court hearings while addressing the

14 danger to other persons or the community.

15      It is therefore ORDERED:

16      1. Defendant shall be detained pending trial, and committed to the custody of the Attorney

17          General for confinement in a correction facility separate, to the extent practicable, from

18          persons awaiting or serving sentences or being held in custody pending appeal;

19      2. Defendant shall be afforded reasonable opportunity for private consultation with

20          counsel;

21      3. On order of the United States or on request of an attorney for the Government, the person

22          in charge of the corrections facility in which defendant is confined shall deliver the



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01        defendant to a United States Marshal for the purpose of an appearance in connection

02        with a court proceeding; and

03     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

04        for the defendant, to the United States Marshal, and to the United State Probation

05        Services Officer.

06     DATED this 13th day of October, 2021.

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                                                       A
                                                       S. KATE VAUGHAN
09                                                     United States Magistrate Judge

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     DETENTION ORDER
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